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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                              CIVIL ACTION

VERSUS                                                             NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                           SECTION: “I”(5)

                                            ORDER

       The Court is in receipt of the parties’ additional exhibits lists it earlier ordered to be

submitted. (Rec. doc. 1320). The Court has reviewed those submissions, along with various

objections lodged by the parties to certain of the exhibits listed in those submissions. Every

party in this case has lodged at least one objection to their respective opponents’ new

exhibits. After careful review of the exhibits and objections thereto, the Court overrules each

and every objection, in keeping with its previous statements concerning the nature of the

proceeding in which they will be used.

       This Court alone is the trier of fact in the pending matter and, based on its long

experience in this case, is perfectly capable of assigning to the various exhibits and testimony

the weight to which they are entitled. As for foundational concerns expressed about various

third-party studies submitted by multiple parties, the Court will, as a matter of course,

require the parties to lay a foundation appropriate for each document’s intended use at the

hearing.

       Finally, the Court grants the City’s request that it take judicial notice of the City

Council meetings of September 10 and 17, 2020.
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       The Court will convene a final status conference with counsel for the parties to discuss

the protocol for the hearing at 10:00 a.m. Wednesday, September 30, 2020. A Zoom for

Government link will be circulated to counsel of record via email.

       New Orleans, this     25th day of          September      , 2020.




                                                    MICHAEL B. NORTH
                                              UNITED STATES MAGISTRATE JUDGE




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